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                  IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

IN RE: Kaster Santiago                          )      Case No.
                                                )
                                                )
      Plaintiff                                 )      COMPLAINT
                                                )
                                                )
v.                                              )      July Demand Requested
                                                )
      Transworld Systems, Inc.                  )
      500 Virginia Drive, Suite 514             )
      Ft. Washington, PA 19034                  )
                                                )
      Defendant                                 )
______________________________________________________________________
   Now comes Plaintiff, by and through his attorneys, and, for her Complaint alleges as
                                        follows:

                                       INTRODUCTION

             1. Plaintiff, Kaster Santiago, brings this action to secure redress from
                unlawful collection practices engaged in by Defendant, General
                Revenue Corporation; Plaintiff allege violation of the Fair Debt
                Collection Practices Act, 15 U.S.C. Section 1692 et seq. (“FDCPA”).
             2. The FDCPA broadly prohibits unfair or unconscionable collection
                methods, conduct which harasses or abuses any debtor, and any
                false, deceptive or misleading statements in connection with the
                collection of a debt. 15 U.S.C. Section 1692d, 1692e and 1692f.
             3. Plaintiff acknowledges that debt collectors can garnish a debtor’s
                wages for student loan repayment without being forced to file a lawsuit,
                however, any student loan garnishment is subject to the requirements
                of 20 U.S.C. Section 1095a.
             4. One of the main requirements for the above stated statute is that “the
                individual shall be provided written notice, sent by mail to the
                individual’s last known address, a minimum of 30 days prior to the
                initiation of proceedings.” 20 U.S.C. Section 1095a(a)(2).
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                      JURISDICTION AND VENUE
       5. This court has jurisdiction pursuant to 28 U.S.C. Section 1331, 1337,
          1367; and 15 U.S.C. section 1692(d).
       6. Venue is proper because a substantial part of the events giving rise to
          this claim occurred in this District.


                             PARTIES
       7. Plaintiff, Kaster Santiago (hereinafter “Plaintiff”) incurred an obligation
          to pay money, the primary purpose of which was for personal, family,
          or household uses (the “Debt”).
       8. Plaintiff is a resident of the State of Illinois
       9. Defendant, Transworld Systems, Inc. (“Defendant”), is a Pennsylvania
          business entity with an address of 500 Virginia Drive, Suite 514, Ft.
          Washington, PA 19034 operating as a collection agency, and is a “debt
          collector” as the term is defined by 15 U.S.C. Section 1692a(6).
       10. Unless otherwise stated herein, the term “Defendant” shall refer to
          Transworld Systems, Inc.
       11. At some point, the original creditor, transferred this debt to Defendant
          for debt collection.
       12. The type of debt being collected upon was for a student loan.


                                     ALLEGATIONS


       13. The Plaintiff allegedly incurred a financial obligation (the “Debt”) to an
          original creditor (the “Creditor”) for student loans
       14. The Debt was purchased, assigned or transferred to Defendant for
          collection, or Defendant was employed by the Creditor to collect to
          Debt.
       15. The Defendant attempted to collect the Debt and, as such, engaged in
          “communications” as defined in 15 U.S.C. Section 1692a(2).
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       16. On August 8, 2017, Defendant sent an initial communication to
          Plaintiff. See Exhibit A.
       17. On October 15, 2017, Plaintiff received the attached letter, dated
          October 10, 2017, which is “Notice Prior to Wage Withholding.” See
          Exhibit B
       18. Said letter states “[Y]ou must establish a written repayment agreement
          with TRANSWORLD SYSTEMTS INC. on behalf of ILLINOIS
          STUDENT ASSISTANCE COMMISSION on or before 11/09/2017.”
          See Exhibit B
       19. The date required by Defendant’s letter is less than the thirty days
          required by law.
       20. In 20 U.S.C. Section 1095a, the Code lays out the requirements for
          garnishing a debtor’s wages for student loans.
       21. In Kort vs. Diversified Collection Services, Inc. 270 F. Supp.2d 1017
          (N.D. Ill., 2003), the Court held that a letter demanding the consumer
          enter into a payment agreement prior to thirty days from receipt in
          order to avoid a student loan wage garnishment was, by law, a
          violation of 15 U.S.C. Section 1692e.
VIOLATIONS OF THE FDCPA-15 U.S.C. SECTION 1692, et seq.
       22. The Plaintiff incorporates by reference all of the above paragraphs of
          this Complaint as though fully stated herein.
       23. The Defendant’s conduct violated 15 U.S.C. Section 1692e in that it
          used false, deceptive, or misleading representation or means in
          connection with the collection of debt.

                                      STANDING AND INJURY

       24. Plaintiff has suffered an injury in fact that is traceable to Defendant's
          conduct and that is likely to be redressed by a favorable decision in
          this matter.
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       25. Specifically, Plaintiff suffered a concrete informational injury as a result
          of Defendant's failure to provide truthful information in connection with
          its attempt to collect an alleged debt from Plaintiff.
       26. The Plaintiff has suffered and continues to suffer actual damages as a
          result of the Defendant’s unlawful conduct.
       27. As a direct consequence of the Defendant’s acts, practices and
          conduct, the Plaintiff suffered and continues to suffer from humiliation,
          anger, anxiety, and frustration.




                                    JURY DEMAND
       28. Plaintiff demands a trial by jury.
                                    PRAYER FOR RELIEF
       29. Plaintiff demands the following relief:
       WHEREFORE, the Court should enter Judgment in favor of Plaintiff and
       against Defendant for:
                    (1) Statutory damages;

                     (2) Attorney fees, litigation expenses and costs of suit; and

                     (3) Such other and further relief as the Court deems proper.

                                                     Respectfully submitted,



                                                /s/ John Carlin__________________
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